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               No computer: The Defendant is prohibited from possession and/or use of any
         computers and connected devices.

                Computer, no internet access: The Defendant is permitted use of computers or
         connected devices, but is not permitted access to the Internet (as World Wide Web, FTP sites,
         IRC servers, instant messaging).
                 Computer with internet access: The Defendant is permitted use of computers or
         connected devices, is permitted access to the internet for legitimate purposes, and is
         responsible for any fees connected with the installation and use of monitoring software.

                 Other Residents: By consent of other residents, all computers located at the address
         of record shall be subject to inspection to ensure the equipment is password protected.

                  Other Restrictions:

         OTHER CONDITIONS:

        As a further condition of release, defendant shall not commit a Federal, State, or local crime
during the period of release. The commission of a Federal offense while on pretrial release will result
in an additional sentence of a term of imprisonment of not more than 10 years, if the offense is a
felony; or a term of imprisonment of not more than 1 year, if the offense is a misdemeanor. This
sentence shall be in addition to any other sentence.

       Any violation of the conditions of release may result in revocation of bail and imprisonment
pending trial.



/s/ Louis Lappen, Esquire                                      /s/ Philip Steinberg, Esquire

AUSA                                                           DEFENSE ATTORNEY




         It is so ORDERED this 1st day of February , 2022.

                                                       BY THE COURT:

                                                       /s/ Hon. C. Darnell Jones II

                                                          JONES, C. DARNELL II, J.




Last Revised: 9-20-16
